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7                               UNITED STATES DISTRICT COURT
8                              CENTRAL DISTRICT OF CALIFORNIA
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10   SUZETTE J BLANTON                      )      CASE NO. íFYíí-(0
                                            )
11                Plaintiff,                )      ORDER AWARDING ATTORNEYS
                                            )      FEES PURSUANT TO EAJA 28 U.S.C.
12   vs.                                    )      §2412(d) AND COSTS PURSUANT
                                            )      TO 28 U.S.C. §1920
13   KILOLO KIJAKAZI, ACTING                )
     COMMISSIONER OF SOCIAL                 )
14   SECURITY                               )
                                            )
15             Defendant                    )
     ______________________________
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17         Pursuant to the Stipulation between the parties, through their respective counsel,
18   awarding attorney’s fees under EAJA,
19         IT IS HEREBY ORDERED that EAJA fees are awarded in the amount of $3,545.90
20   in attorney’s fees as authorized by 28 U.S.C. § 2412, and $0.00 for costs as authorized by
21   28 U.S.C. § 1920, subject to the terms of the stipulation.
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     Dated:    May 31, 2022
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24                                               /s/ - John E. McDermott
                                            ______________________________
                                            HON. JOHN E. MCDERMOTT
25                                          U.S. Magistrate Judge
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                                                  1               Order Awarding EAJA Fees
